

Burgos v MTA Bus Co. (2016 NY Slip Op 07749)





Burgos v MTA Bus Co.


2016 NY Slip Op 07749


Decided on November 17, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2016

Tom, J.P., Richter, Manzanet-Daniels, Kapnick, JJ.


14485 107605/10

[*1] Emelyn Burgos, Plaintiff-Respondent,
vMTA Bus Company, et al., Defendants-Appellants.



An appeal having been taken to this Court by the above-named appellants from an order of the Supreme Court, New York County (Arlene P. Bluth, J.), entered September 17, 2013,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated February 23, 2015,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: NOVEMBER 17, 2016
CLERK








